




02-12-087-CV









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

NO. 02-12-00087-CV 

&nbsp;

&nbsp;


 
  
  Jonah Ward
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  Bank of America, N.A.
  
  
  &nbsp;
  
  
  APPELLEE 
  
 


&nbsp;

&nbsp;

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&nbsp;

FROM County
Court at Law No. 1 OF Tarrant COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;

On August
6, 2012, we notified appellant, in accordance with rule of appellate procedure
42.3(c), that we would dismiss this appeal unless the $175 filing fee was
paid.&nbsp; See Tex. R. App. P. 42.3(c).&nbsp; Appellant has not
paid the $175 filing fee.&nbsp; See Tex. R. App. P. 5, 12.1(b).

Because
appellant has failed to comply with a
requirement of the rules of appellate procedure and the Texas Supreme Court’s
order of August 28, 2007,[2]
we dismiss the appeal.&nbsp; See Tex. R. App. P. 42.3(c), 43.2(f).

Appellant
shall pay all costs of this appeal, for which let execution issue.&nbsp; See
Tex. R. App. P. 43.4.

&nbsp;

PER
CURIAM

PANEL:&nbsp;
LIVINGSTON,
C.J.; DAUPHINOT and GARDNER, JJ.

&nbsp;

DELIVERED:&nbsp;
September 6, 2012









[1]See Tex. R. App. P. 47.4.





[2]See Supreme Court of
Tex., Order Regarding Fees Charged in Civil Cases in the Supreme Court and
the Courts of Appeals and Before the Judicial Panel on Multidistrict Litigation,
Misc. Docket No. 07-9138 (Aug. 28, 2007) (listing fees in courts of appeals).







